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POLICY NUMBER:*/                                                  COMMERCIAL GENERAL LIABILITY
                                                                                            CG 20 26 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    ADDITIONAL INSURED – DESIGNATED
                        PERSON OR ORGANIZATION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                       SCHEDULE

Name Of Additional Insured Person(s) Or Organization(s):

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Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Section II – Who Is An Insured is amended to               B. With respect to the insurance afforded to these
   include as an additional insured the person(s) or             additional insureds, the following is added to
   organization(s) shown in the Schedule, but only               Section III – Limits Of Insurance:
   with respect to liability for "bodily injury", "property      If coverage provided to the additional insured is
   damage" or "personal and advertising injury"                  required by a contract or agreement, the most we
   caused, in whole or in part, by your acts or                  will pay on behalf of the additional insured is the
   omissions or the acts or omissions of those acting            amount of insurance:
   on your behalf:
                                                                 1. Required by the contract or agreement; or
   1. In the performance of your ongoing operations;
       or                                                        2. Available under the applicable Limits of
                                                                     Insurance shown in the Declarations;
   2. In connection with your premises owned by or
       rented to you.                                            whichever is less.
   However:                                                      This endorsement shall not increase the
                                                                 applicable Limits of Insurance shown in the
   1. The insurance afforded to such additional                  Declarations.
      insured only applies to the extent permitted by
      law; and
   2. If coverage provided to the additional insured is
      required by a contract or agreement, the
      insurance afforded to such additional insured
      will not be broader than that which you are
      required by the contract or agreement to
      provide for such additional insured.




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